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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

                                             )
IN RE APPLICATION OF P.W RENTALS LTD.,    )
1251237 ALBERTA LTD., 1218172 ALBERTA LTD. )
SILVER SKY RENTALS LTD., SHILO WILD, AND )     C a s e No. 24-MC-91609
PERRY WILD FOR AN ORDER TO TAKE DISCOVERY )
PURSUANT TO 28 U.S.C. § 1782         )
                                             )
                         )

          PETITION FOR DISCOVERY IN AID OF A FOREIGN PROCEEDING
                         PURSUANT TO 28 U.S.0 4 1782

       Petitioners P.W. Rentals Ltd. ("PW Rentals"), 121237 Alberta Ltd., 1218172 Alberta

Ltd., Silver Sky Rentals Ltd., Shilo Wild, and Perry Wild (collectively, "Petitioners"), by and

through their counsel, hereby apply for an Order under 28 U.S.0 § 1782 ("Section 1782") granting

them leave to issue a subpoena to Auction Mobility LLC for the production of documents that

would assist Petitioners in a foreign legal proceeding pending before the Court of King's Bench in

Alberta, Canada. A copy of the proposed subpoena (the "Subpoena") is attached hereto as Exhibit

A. A s grounds therefore, and as set out more fully in the accompanying Memorandum of Law

(the "Memorandum") and Declaration of Paul Greep (the "Greep Declaration"), Petitioners state:

        1. 2 8 U.S.0 § 1782 provides for discovery in the United States to assist tribunals and

interested persons in proceedings before foreign or international tribunals. In relevant part, Section

1782(a) states:

           The district court of the district in which a person resides or is found may order
           him to give his testimony or statement or to produce a document or other thing
           for use in a proceeding in a foreign or international tribunal, including criminal
           investigations conducted before formal accusation. The order may be made...
           upon application of any interested person and may direct that the testimony or
           statement be given, or the document or other thing be produced, before a person
           appointed by the court.

       2. T h e requirements of 28 U.S.0 § 1782 are satisfied in this case. As further

explained in the Memorandum, 1) Auction Mobility LLC resides or can be found in this district;
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2) the discovery is "for use in" a proceeding before a foreign court, namely a civil action pending

before the Court of King's Bench in Edmonton, Canada; and 3) the Petitioners, as litigants, are

"interested persons" in that proceeding. See Memorandum at 3-4.

        3. T h e discretionary factors a court may consider in evaluating a 28 U.S.0 § 1782

petition also weigh in favor of granting the Petition. I d at 4-5; see Intel Corp. v. Advanced

Micro Devices, Inc., 542 U.S. 241, 264-65 (2004).

       4. P e t i t i o n e r s P.W. Rentals, 1251237 Alberta Ltd., 1218172 Alberta Ltd., and Silver

Sky Rentals Ltd. (collectively the "Corporate Petitioners"), are entities incorporated in the

province of Alberta, Canada. See Statement of Claim attached as Exhibit A to the Greep Deel.

("Statement of Claim") !I 1. A t all material times they engaged in the business of renting

equipment to various oilfield companies throughout northern British Columbia, Alberta, and

Saskatchewan. Id. Petitioners Perry Wild and Shilo Wild (the "Individual Petitioners") are

shareholders of the Corporate Petitioners. Id.

       5. O n June 11, 2021, PW Rentals entered a contract with Weaver Bros Auctions Ltd.,

DBA Weaver Bros Auction Service ("Weaver"), an auction company registered to do business in

Alberta, that required Weaver to hold an auction to sell all or substantially all the Corporate

Petitioners' assets. I d at 714, 7, 10. The individual Petitioners and a representative from each

Corporate Petitioner signed the contract. Id. at ![ 10.

       6. W e a v e r held an auction o f the Corporate Petitioners' assets beginning on

September 24, 2021, with bids closing in a staggered fashion beginning September 28 and ending

September 30, 2021 (the "Auction"). I d at olf 18.

       7. A u c t i o n Mobility LLC ("Auction Mobility") is a limited liability company that is

registered to do business in Massachusetts and that is, or during the relevant time period was, based

in this district with senior employees present here. Greep Decl. 11114-5. Auction Mobility provides

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software for the administration of online auctions, including "bidding platforms," through which

users can bid on auctioned items on a computer or smartphone. Id. 114. Weaver utilized Auction

Mobility's auction platform to collect bids during the Auction. Id,

        8. S e v e r e technical difficulties prevented effective operation o f the Auction.

Statement of Claim If 19. A s lots neared their close, potential Auction bidders were precluded

from bidding on items, id. Other bidders communicated to Petitioners that they were unable to

access the online platform to make bids throughout September 27-29. Id. Weaver did not stop the

Auction despite these technical difficulties. Id. at If 20.

        9. G i v e n its role in the Auction process, Auction Mobility likely has within its

possession, custody, or control documents and information relevant to Petitioners' case in Canada.

Accordingly, for the reasons set forth above, in the Memorandum, and in the Greep Declaration,

Petitioners respectfully move the Court for an order granting the Petition and authorizing the

issuance of a subpoena in the form attached hereto as Exhibit A.



                                               P.W. RENTALS LTD., 1251237 ALBERTA LTD.,
                                               1218172 A L B E R TA LT D . , S I LV E R S K Y
                                               RENTALS LTD., SHILO WILD, AND PERRY
                                               WILD

                                               By their attorneys,

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